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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                              AT BLUEFIELD

STEVE LAMBERT,

     Movant,

v.                                         CIVIL ACTION NO. 1:05-00401
                                     CRIMINAL ACTION NO. 1:01-00237-02
UNITED STATES OF AMERICA,

     Respondent.


                     MEMORANDUM OPINION AND ORDER

     Pending before the court is movant’s Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255.               (Doc.

Nos. 2, 3.)    By Standing Order entered July 21, 2004, and filed

in this case on May 11, 2005, this matter was referred to United

States Magistrate Judge R. Clarke VanDervort.            (Doc. No. 6.)

Pursuant to 28 U.S.C. § 636(b)(1)(B), the Standing Order directs

Magistrate Judge VanDervort to submit proposed findings and

recommendations concerning the disposition of this matter.               (Id.)

Magistrate Judge VanDervort submitted his Proposed Findings and

Recommendations (“PF & R”) on July 18, 2008, recommending that

this court dismiss the movant’s § 2255 motion and remove this

matter from the court’s active docket.          (Doc. No. 18.)

     In accordance with the provisions of 28 U.S.C. § 636(b), the

parties were allotted ten days, plus three mailing days, in which

to file any objections to Magistrate Judge VanDervort's PF & R.

Under § 636(b), the failure of any party to file objections
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within the appropriate time frame constitutes a waiver of that

party's right to a de novo review by this court.                   Snyder v.

Ridenour, 889 F.2d 1363 (4th Cir. 1989); Thomas v. Arn, 474 U.S.

140 (1985).    Neither party has filed objections to the PF & R,

and the time period for doing so has now elapsed.

     Having reviewed the Proposed Findings and Recommendations

filed by Magistrate Judge VanDervort, the court hereby

(1) CONFIRMS AND ACCEPTS the findings and conclusions contained

therein (Doc. No. 18); (2) DISMISSES the Motion to Vacate, Set

Aside, or Correct Sentence pursuant to 28 U.S.C. § 2255 (Doc.

Nos. 2, 3); and (3) DIRECTS the Clerk to remove this action from

the court’s active docket.

     The Clerk is directed to forward copies of this Memorandum

Opinion and Order to movant, pro se, and to all counsel of

record.

     It is SO ORDERED this 29th day of August, 2008.

                                    ENTER:


                                    David A. Faber
                                    United States District Judge




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